23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 1 of
                                        16



                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

      In re:                                             §
                                                         §        Case No. 23-10164-smr
      ASTRALABS, INC.,                                   §
                                                         §        Chapter 7
                Debtor.                                  §

                          TRUSTEE’S MOTION FOR STATUS CONFERENCE

  TO THE HONORABLE SHAD M. ROBINSON, UNITED STATES BANKRUPTCY JUDGE:

               COMES NOW Randolph N. Osherow, not individually but in his capacity as the duly

  appointed chapter 7 trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS,

  Inc. (the “Debtor”) and its bankruptcy estate (“Estate”) established under the above-captioned

  chapter 7 case (“Bankruptcy Case”), and files this Motion for Status Conference (the “Motion”),

  respectfully stating as follows:

                                                I.       SUMMARY

               1.    On July 26, 2023, Ron Satija (counsel for Andrew Ryan a/k/a Ryan Rafols) sent an

  e-mail (the “Satija Correspondence”) 1 to counsel for CFT Clear Finance Technology Corp.

  (“CFT”), a major unsecured creditor of the Estate. 2 Attached to the Satija Correspondence is a

  proposed Personal Guarantee Agreement of Andrew Ryan, the Debtor’s former CEO

  (the “Proposed Guaranty”), offered to CFT in exchange for CFT’s agreement to participate in an




  1
        A true and correct copy of the Satija Correspondence is attached hereto as Exhibit “A” and incorporated herein
        by reference for all purposes.
  2
        See, e.g., Amended Schedule E/F [Docket No. 209] (“Amended Schedules”), No. 3.102.

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                       Page 1
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 2 of
                                        16



  election requested in the Bankruptcy Case pursuant to 11 U.S.C. § 702 (the “Trustee Election”)

  and to vote for a particular candidate to replace the Trustee:




  See Satija Correspondence at pg. 3.

            2.     The terms of the Proposed Guaranty make clear that Messrs. Ryan and Satija

  offered the Proposed Guaranty expressly in order to seek and induce CFT’s participation the

  Trustee Election and CFT’s vote for their designated candidate:




  See id.

            3.     The Trustee initiated his investigation that uncovered the Proposed Guaranty upon

  being notified by the United States Trustee (the “UST”) of certain irregularities and potential

  improprieties relating to claims filed in the Bankruptcy Case, the circumstances of which strongly

  indicated possible improper conduct committed in connection with the Trustee Election. 3 These

  matters are further addressed below.

            4.     The Trustee’s pending investigation into these matters has revealed—as evidenced

  by the Satija Correspondence—that the Trustee Election has been orchestrated, organized, and led

  by Andrew Ryan, the Estate’s major shareholder, in an improper and fraudulent attempt to utilize



  3
      See, e.g., Trustee’s Amended Limited Omnibus Objection to Claim No. 164 of Apex Funding Source, LLC and
      Claim No. 165 of Iruka Capital Group, LLC for Purposes of Disputing Eligibility to Vote in Trustee Election
      Pursuant to 11 U.S.C. § 702, With Notice Thereof [Docket No. 216] (the Kaminski Claims Objection”); Amended
      Objection to Claim No. 166 of Shaila Patel, With Notice Thereof [Docket No. 217] (the “Patel Claim Objection”).

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                      Page 2
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 3 of
                                        16



  section 702 of the Bankruptcy Code in bad faith to advance the interests of shareholders and

  collaterally attack this Court’s conversion of this Bankruptcy Case to chapter 7 by installing

  Mr. Ryan’s chosen designee to act as the Estate’s fiduciary.

          5.       The Trustee Election proceedings, as well as the Trustee’s corresponding

  investigation surrounding the Proposed Guaranty and the Satija Correspondence, remain

  continuing, as to which the Trustee reserves all of his and the Estate’s rights. Notwithstanding,

  the evidence already uncovered to date indicates that Andrew Ryan’s efforts to manipulate the

  bankruptcy process include a coordinated effort and potential conspiracy involving other

  parties-in-interest. The objective is perhaps best summarized in a message from Andrew Ryan to

  shareholders following conversion of the Bankruptcy Case to chapter 7:




          6.       Mr. Satija is a panel chapter 7 Trustee who, subject to the Court’s approval, receives

  case assignments from the UST to act as fiduciary to and for bankruptcy estates in chapter 7 cases. 4

          7.       Neither the Trustee nor his counsel, in their over sixty combined years of

  bankruptcy practice, have encountered conduct that more fundamentally threatens to destroy

  public confidence in the legal system. 5

          8.       As noted above, the Trustee’s investigation is continuing. However, due to the

  extremely troubling nature of these revelations and the inextricable relationship this matter has to




  4
      See Austin Trustees, United States Bankruptcy Court | Western                              District   of    Texas,
      https://www.txwb.uscourts.gov/austin-trustees (last visited August 8, 2023).
  5
      See, e.g., Chambers v. NASCO, Inc., 501 U.S. 32, 43–45 (1991) (affirming 5th Circuit Court of Appeal’s sanction
      of attorney for bad faith conduct and explaining that federal courts have inherent power to investigate and redress
      fraud occurring before them and to maintain the integrity of the judicial system).

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                          Page 3
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 4 of
                                        16



  the Trustee Election and the continued administration of the Estate, the Trustee files this Motion

  in order to promptly inform the Court of these discoveries without delay and to request a status

  conference before the Court to discuss: (a) the Trustee’s contemplated motion for show cause order

  and sanctions; (b) related discovery, scheduling, and coordination with other pending matters in,

  and administration of, the Bankruptcy Case; and (c) any other instruction the Court may have to

  ensure the timely resolution of this matter.

                                           II.     BACKGROUND

           9.      On March 17, 2023 (the “Petition Date”), the Debtor commenced the Bankruptcy

  Case by filing a voluntary petition for relief under chapter 11, subchapter V, of Title 11 of the

  United States Code, 11 U.S.C. §§ 101 et seq. (as amended, the “Bankruptcy Code”). No official

  committee has been appointed in the Bankruptcy Case.

  A.       The Conversion Order

           10.     On May 12, 2023, the Court entered its Order Converting Case to Chapter 7

  [Docket No. 89] (“Conversion Order”), converting the Bankruptcy Case to chapter 7, discharging

  the subchapter V trustee, and appointing the Trustee as the interim trustee to oversee the

  administration, operation, and management of the Debtor’s Estate and its business.

           11.     Immediately following entry of the Conversion Order, Andrew Ryan posted a

  message on LinkedIn, promising to challenge the Court’s decision: 6




  6
       Andrew Ryan, Newchip Reveal Part I: Our Fight, Chapter 7 Liquidation, and The Long Road Ahead,
       LinkedIn (May 12, 2023), https://www.linkedin.com/pulse/update-our-fight-chapter-7-liquidation-road-ahead-
       andrew-ryan.

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                  Page 4
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 5 of
                                        16



         12.     Andrew Ryan did not “appeal the court’s decision.” Rather, on May 18, 2023,

  Thomas Dolezal (“Dolezal”), Matthew Kelly (“Kelly”), and Casey Melcher (“Melcher”) filed a

  Motion to Reconsider Order Converting Case to One Under Chapter 7 [Docket No. 104]

  (the “First Motion to Reconsider”). After the UST filed its Objection [Docket No. 114] to the First

  Motion to Reconsider, the movants withdrew their motion [Docket No. 115].

         13.     On May 26, 2023, Dolezal, Kelly, Melcher, and Hasan Ugur Koyluoglu,

  collectively represented by Stephen Sather of Barron & Newburger, P.C. (collectively, the “B&N

  Clients”), filed a further Motion to Reconsider Order Converting Case to One Under Chapter 7

  [Docket No. 119] (the “Second Motion to Reconsider”). As before, Andrew Ryan did not file any

  pleadings to “appeal the court’s decision.” Nevertheless, Andrew Ryan sent a message to

  shareholders regarding the Second Motion to Reconsider filed by the B&N Clients:




         14.     On June 14, 2023, Stephen Sather (counsel for the B&N Clients) delivered to the

  Trustee’s counsel a number of proposals and requests that he indicated might promote the B&N

  Clients’ withdrawal of their serial motion. Copied to that proposal was Ron Satija (counsel for

  Andrew Ryan). After the Trustee and the UST each filed objections to the Second Motion to

  Reconsider [Docket Nos. 134 and 135], the B&N Clients again withdrew their motion [Docket

  No. 141].

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                       Page 5
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 6 of
                                        16



  B.       Proofs of Claim Filed on June 16, 2023

           15.       On June 16, 2023, just prior to the scheduled, post-conversion meeting of creditors

  pursuant to section 341 of the Bankruptcy Code (the “341 Meeting”), three proofs of claim were

  filed:

                 •   Proof of Claim No. 164, filed by Apex Funding Source, LLC (“Apex”) and
                     asserting an unsecured claim for $663,000.00 for “Sale of Future Receipts”;

                 •   Proof of Claim No. 165, filed by Iruka Capital Group, LLC (“Iruka”) and
                     asserting an unsecured claim for claim for $715,823.00 for “Future
                     Receivables Sale and Purchase Agreement”; and

                 •   Proof of Claim No. 166, filed by Shaila Patel and asserting an unsecured
                     claim for $486,318.88 for “Money Loaned.”

  Apex and Iruka are represented in this case by the same counsel (S. Kaminski), and the Apex and

  Iruka Proofs of Claim both indicate that the respective obligations are personally guaranteed by

  both Andrew Ryan and Nihar Patel, two former principals and insiders of the Debtor. See Apex

  POC, Ex. 1 at pg. 12; Iruka POC, Ex. 1 at pg. 16. Upon information and belief, Shaila Patel is

  Nihar Patel’s mother.

           16.       As filed, the Apex, Iruka, and Shaila Patel Proofs of Claim would have represented

  three of the largest unsecured general unsecured claims against the Estate as of the date of the

  341 Meeting. Critically, the Apex and Iruka Proofs of Claim, while asserting unsecured claims,

  were both filed with documentation plainly evidencing grants of security interests, as well as

  pre-petition U.C.C.-1 financing statements establishing perfection thereof. Additionally, in the

  Debtor’s original bankruptcy schedules [Docket No. 36] (the “Schedules”): (a) Schedule D lists

  two secured creditors, Iruka and Apex (collectively, the “Secured Factoring Creditors”), both of

  which are marked “Disputed,” see Schedule D at 2.1–2.2; and (b) Shaila Patel was not listed

  among the 201 scheduled unsecured creditors. See generally Schedule F at pgs. 14–65.




  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                           Page 6
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 7 of
                                        16



  C.       The 341 Meeting

           17.      On June 16, 2023, the Trustee convened the 341 Meeting, during which a Trustee

  Election was requested solely by: (a) counsel for the B&N Clients; and (b) counsel for the Secured

  Factoring Creditors. The Trustee adjourned the 341 Meeting and continued it to July 28, 2023, to

  allow the UST to conduct the Trustee Election. See Notice of Continued First Meeting of Creditors

  [Docket No. 152].

           18.      Following the adjournment, Andrew Ryan posted a message regarding the

  341 Meeting and the requested Trustee Election:




  This correspondence evidences Mr. Ryan’s own admission that the Trustee Election has in fact

  been requested in order to advance the interests of shareholders. 7




  7
       Andrew Ryan does not have a proof of claim on file. Rather, the Debtor’s Amended Schedules list Mr. Ryan as
       holding a 40.39% equity interest and as receiving over $280,000 in transfers from the Debtor within the year
       preceding the Petition Date (basis unspecified). See Amended Statement of Financial Affairs [Docket No. 209],
       Nos. 28, 30.1.

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                     Page 7
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 8 of
                                        16



  D.     The B&N Objection to the Gamma Consulting Application

         19.     As evidenced above and further below, the B&N Clients have plainly coordinated

  their efforts and objectives in this case with Andrew Ryan. When the B&N Clients have requested

  to meet with the Trustee (including, but not limited to, requests and meetings to discuss marketing

  and liquidation of assets, their motion(s) for reconsideration, and requests for the Trustee’s consent

  to ad hoc committees), they have consistently made such requests and attended such meetings with

  Mr. Ryan and his counsel.

         20.     On July 7, 2023, the Trustee filed his Application to Employ Gamma Consulting,

  LLC to Provide Transition Consulting Services to and for the Estate [Docket No. 159]

  (the “Hadzik Application”), pursuant to which the Trustee seeks to retain Gamma Consulting,

  LLC—whose principal is Kerstin Hadzik, the Debtor’s former interim chief financial officer—to

  provide transition consulting services for the Estate.

         21.     On July 21, 2023, the B&N Clients filed their Objection [Docket No. 189] to the

  Hadzik Application (the “B&N Objection”), which is supported by several allegations regarding

  internal employee matters (none of the B&N Clients was an employee of the Debtor), but which

  are all made solely “on information and belief.” Tellingly, the B&N Clients acknowledge that

  their “information and belief is based on statements made by Andrew Ryan,” see B&N Objection

  at pg. 2 n.1, including a supporting exhibit comprised of an e-mail from Andrew Ryan to Ron

  Satija and Stephen Sather, see B&N Objection, Ex. B.

         22.     As further discussed below, this coordination and collusion also materially includes

  the Trustee Election.

  E.     The Proposed Guaranty Agreement

         23.     On May 25, 2023, CFT filed its proof of claim, assigned No. 110 in the Court’s

  official claims register maintained for the Bankruptcy Case, asserting a general unsecured claim


  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                          Page 8
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 9 of
                                        16



  for $1,580,557.94 (“CFT’s Claim”). CFT’s Claim is the largest general unsecured claim asserted

  against the Estate.

          24.      On the morning of July 24, 2023, counsel for the UST contacted the Trustee’s

  counsel raising certain concerns identified in the UST’s analysis of certain filed claims in

  connection with the requested Trustee Election.

          25.      During a discussion with CFT later that day, CFT informed the Trustee’s counsel

  that it had been contacted by Messrs. Ryan and Satija regarding the upcoming Trustee Election.

  CFT requested a copy of the Debtor’s original Schedules and the May 11, 2023 hearing transcript

  that resulted in the Conversion Order, and the Trustee provided the requested documents.

          26.      On July 26, 2023, CFT contacted the Trustee’s counsel and informed the Trustee

  that it had recently received a proposed guaranty offer from Ron Satija (counsel for Andrew Ryan)

  in exchange for CFT’s participation in the Trustee Election. The Trustee’s counsel, accordingly,

  requested a copy of the communication from counsel for CFT, immediately informed the UST,

  and followed up with CFT to deliver the Trustee’s written request and demand for same.

          27.      On July 27, 2023, CFT provided the Trustee’s counsel with a redacted copy of the

  Satija Correspondence, including two attachments: (a) materials related to voting in the Trustee

  Election and (b) the Proposed Guaranty. 8

          28.      In the Satija Correspondence, on July 26, 2023, Mr. Satija inquires whether the

  recipient “had a chance to look at the voting materials and the guarantee agreement (attached again

  for your convenience)” and expresses an interest in making sure that “Andrew gets paid!” See

  Satija Correspondence at pg. 2. The voting materials referenced in the e-mail are attached and



  8
      The Trustee originally agreed to CFT’s request to redact its name from the Satija Correspondence due to Andrew
      Ryan’s apparent tendencies to attempt to intimidate witnesses, but pursuant to further discussions, CFT has now
      agreed to disclose the Satija Correspondence and Proposed Guaranty to the Trustee, without redaction, and with
      CFT’s express authentication thereof. CFT is in the process of preparing these disclosures.

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                      Page 9
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 10
                                      of 16



  include a Trustee Election Questionnaire and a Trustee Election Ballot disseminated by the UST,

  together with instructions on completing the documents in order to vote in the Trustee Election.

           29.     Under the terms of the Personal Guarantee Agreement, Andrew Ryan would

  personally guarantee “payment of all present and future indebtedness, obligations and liabilities of

  the [Debtor] to the [creditor],” expressly in exchange for CFT’s vote in the Trustee Election for

  the specific candidate designated by Ryan:




  See Satija Correspondence at pg. 3.

           30.     It is not yet clear the extent to which any other creditors were offered the same

  personal guarantee by Andrew Ryan in exchange for their vote in the Trustee Election, but the

  placeholders in the Personal Guarantee Agreement for the creditor’s “[Complete Address]” and

  “[Loan Agreement Date]” indicate that the agreement was prepared in a manner that promotes its

  convenient tailoring to and for other potential counterparties.

           31.     Counsel for the Trustee immediately provided the disclosures to the matter to the

  UST. 9




  9
      At this time, the Trustee also made corresponding referrals to the UST. See 18 U.S.C. § 152(6).

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                Page 10
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 11
                                      of 16



  F.       The Trustee Election

           32.      At the continued 341 Meeting held on July 28, 2023, among those in attendance

  in-person at the meeting were counsel for the Trustee, Ron Satija (counsel for Andrew Ryan), and

  Andrew Ryan. 10

           33.      In the first phase of the 341 Meeting, the UST went through each of the unsecured

  creditors listed on the Debtor’s Amended Schedules, filed just the day before, to verify attendance

  and any related request to hold a Trustee Election. The B&N Clients, and in particular, Matt Kelly,

  declared that they held proxies for and from certain putative creditors and that they, on behalf of

  their putative proxy creditors, wished to request a trustee election.

           34.      For each of the unsecured creditors, the UST also asked if any parties had any

  objections to the eligibility of the creditor to participate in the election. With respect to the vast

  majority of the creditors who were not participating in the Trustee Election (or who did not agree

  to vote for Andrew Ryan’s designee candidate), Mr. Ryan (despite the presence of his counsel)

  lodged all objections to the creditors’ claims.

           35.      Prior to the Trustee Election voting phase, the UST allowed the Trustee’s counsel

  to review a copy of a verified statement from the putative proxyholder group, which included a

  copy of a declaration from Casey Melcher (one of the B&N Clients) (the “Melcher Declaration”),

  and two mass e-mails sent to certain creditors and/or shareholders (the “Solicitation

  Communications”). A true and correct copy of the Melcher Declaration, including the Solicitation




  10
       Notably, after the Trustee filed objections and limited objections to the claims filed by Iruka, Apex, and Shaila
       Patel, including for purposes of preventing them from falsely advancing unsecured claims for the purposes of
       requesting or participating in the Trustee Election, see Kaminski Claims Objection, Patel Claim Objection, despite
       having requested the election at the prior 341 Meeting and/or submitted documentation seeking to vote in the
       Trustee, none of these creditors appeared at or participated in the election.

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                        Page 11
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 12
                                      of 16



  Communications, is attached hereto as Exhibit “B” and incorporated herein by reference for all

  purposes.

           36.      Notwithstanding the various issues of non-compliance present in the Melcher

  Declaration and underlying alleged grants of proxies, 11 the Solicitation Communications once

  again evidence that the Trustee Election has been orchestrated, led, and hijacked by Mr. Ryan in

  order to improperly advance the interests of shareholders over those of true creditors of the Estate

  and further evidence the systematic extent of Ryan’s attempts to influence every aspect of the

  Bankruptcy Case by cajoling putative creditor and shareholder pawns into doing his bidding:




  See Ex. B at pg. 3.

           37.      During the final phase of the Trustee Election, the UST opened the floor for

  nominations and took votes. Stephen Sather (counsel for the B&N Clients) nominated Melissa

  Haselden, the same trustee candidate identified in the Proposed Guaranty, and Matt Kelly, on

  behalf of each of the creditors for which the B&N Clients allegedly held proxies, voted in favor of

  Ms. Haselden.

           38.      The UST has not yet filed his report of the disputed Trustee Election.




  11
       The Trustee expressly reserves any and all objections with respect to Trustee Election, including the Solicitation
       Communications.

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                        Page 12
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 13
                                      of 16



                                          III.     RELIEF REQUESTED

           39.      As set forth above, the Trustee’s corresponding investigations into these matters

  remains continuing and is anticipated to involve substantial discovery requests and to ultimately

  lead to one or more requests by the Trustee for sanctions to compensate and provide redress to and

  for the Estate and its constituencies for the substantial damage and havoc wrought upon the Estate

  by Messrs. Ryan and Satija and any co-conspirators. Their systematic, fraudulent efforts to subvert

  and attempt to undo the practical effects of the Court’s Conversion Order, to seize and usurp

  control of the Estate, and to interfere with and oppose the Trustee’s administration by misusing

  and perverting the provisions of the Bankruptcy Code and disseminating misrepresentations and

  frivolous objections to stoke fear and confusion among the Estate’s constituencies has resulted in

  great expense and delay, which damages the Trustee intends to assert and recover for the benefit

  of the Estate’s constituencies.

           40.      Accordingly, in addition to providing to the Court and the Estate’s constituencies

  notice of these matters without delay, 12 the Trustee believes that the Estate’s corresponding

  investigation should be prosecuted and concluded as soon as reasonably possible and that this

  Court has the inherent authority to order whatever scheduling of its Docket the Court determines

  is appropriate under the particular circumstances. 13                 Notwithstanding, the Trustee does not

  currently have a basis to request expedited consideration of this Motion.




  12
       See, e.g., Transcript of Hearing Held June 23, 2021, In re J.C. Penney Company, Inc., Case No. 20-20182-11
       (Bankr. S.D. Tex.), pp. 17:15–19, 31:10–13 (THE COURT: “It bothers me that I didn’t know about conversations
       going on with the U.S. Trustee. It bothers me that there wasn’t perhaps more guidance . . . . I am bothered by
       . . . the lack of disclosure to me because, at the end of the day, I’m responsible. And I not only deserve to know,
       I am entitled to know.”).
  13
       See, e.g., In re Hall, 368 B.R. 595, 602 (Bankr. W.D. Tex. 2007) (recognizing “the Court’s authority under
       11 U.S.C. § 105 and its inherent power to control its own docket and sanction those whose actions inherently and
       consistently constitute an abuse of the bankruptcy court and the bankruptcy laws.”); see also Order to Show
       Cause, In re Ironside, LLC, No. 20-34222 (Bankr. S.D. Tex. Feb. 8, 2022), ECF No. 155 (at status conference set
       five days after Motion for Status Conference was filed, entering show cause order against debtors).

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                         Page 13
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 14
                                      of 16



           41.      As discussed above, the Trustee’s continuing investigation inextricably relates to

  the fraudulently manufactured Trustee Election, while the continuation of that potential disputed

  election proceeding, if any, would fundamentally impede and impair the ongoing administration

  of the Estate. Currently, the UST’s report of the disputed Trustee Election has not yet been filed,

  and under the established procedures implicated by section 702, no further Trustee Election

  proceedings would be implicated unless a motion seeking this Court’s intervention is filed within

  fourteen (14) days following the UST’s filing of its report. See Fed. R. Bankr. P. 2003(d). The

  Trustee does not know whether any party will seek to validate the Trustee Election given the

  obvious fraud pervading it. 14

           42.      If no timely request for this Court’s resolution of a disputed Trustee Election is

  made, then no such election proceedings would continue to interfere with the ongoing

  administration of the Estate. 15

           43.      Accordingly, the Trustee requests to confer with the Court (and parties, on the

  record) regarding the extent to which the Court may determine that expedited discovery parameters

  and/or other procedures are warranted under the particular circumstances. Given the unusual and

  extraordinary nature of the matters raised in this Motion, the Trustee contemplates that the Court




  14
       Cf. In re Lupo, No. 09-21945-JNF, 2011 WL 477856, at *3 (Bankr. D. Mass. Feb. 3, 2011) (holding that party
       was ineligible to be elected trustee where “she has 1) impugned the integrity of the bankruptcy process;
       2) impugned the integrity and competence of the bankruptcy professionals involved in the case; 3) demonstrated
       a disregard for the orderly administration of the case by filing numerous duplicative and frivolous pleadings,
       which establish ignorance of the law and the practicalities inherent in the administration of a Chapter 7 bankruptcy
       case; 4) caused unnecessary expense to the estate; and 5) caused needless delay because of the necessity of parties
       in interest to respond to her numerous filings.”).
  15
       For the avoidance of doubt, due to the material damage already incurred by the Estate as a result of the extremely
       pernicious conduct committed by Messrs. Ryan and Satija and any co-conspirators, the Trustee intends to
       zealously prosecute the Estate’s corresponding investigation and rights to corresponding relief irrespective of
       whether any request is timely filed to resolve the disputed Trustee Election (unless this Court expressly orders
       otherwise).

  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                                          Page 14
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 15
                                      of 16



  may have particular admonitions as to the completion of this investigation and potential related

  procedures.

                                           IV.   PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that the

  Court enter an order: (a) granting this Motion; (b) setting a status conference to address

  (i) potential motions for show cause orders and/or sanctions, and (ii) discovery and/or scheduling

  orders, and any other matters addressed by the Court; and (c) granting him such other and further

  relief to which he may be justly entitled.

  RESPECTFULLY SUBMITTED this 8th day of August, 2023.

                                                  By: /s/ Jay H. Ong
                                                     Jay H. Ong
                                                     Texas Bar No. 24028756
                                                     Thanhan Nguyen
                                                     Texas Bar No. 24118479
                                                     MUNSCH HARDT KOPF & HARR, P.C.
                                                     1717 West 6th Street, Suite 250
                                                     Austin, Texas 78703
                                                     Telephone: (512) 391-6100
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                                                     Email: jong@munsch.com
                                                             anguyen@munsch.com

                                                  Counsel for Randolph N. Osherow,
                                                  Chapter 7 Trustee




  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                     Page 15
23-10164-smr Doc#242 Filed 08/08/23 Entered 08/08/23 12:05:38 Main Document Pg 16
                                      of 16



                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on August 8, 2023, he personally caused true and
  correct copies of the foregoing pleading, together with all exhibits thereto, to be served by
  electronically filing it with the Court using the Court’s CM/ECF system, which sent notification
  to the parties receiving same through such system.

          Additionally, as expressly authorized by the Court and by his signature below, the
  undersigned hereby certifies that, on August 8, 2023, he personally caused to be served a true and
  correct copy of the foregoing pleading, together with all exhibits thereto, via e-mail transmission
  upon the parties listed in the sealed matrix on file with the Court.

         Additionally, the undersigned hereby certifies that, on August 8, 2023, he personally
  caused true and correct copies of the foregoing pleading, together with all exhibits thereto, to be
  served via first class U.S. mail on the following parties:

           Ron Satija                              Stephen W. Sather
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  TRUSTEE’S MOTION FOR STATUS CONFERENCE                                                      Page 16
